           Case 1:22-cv-00424-RP Document 47 Filed 06/22/22 Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION
                                                       §
Leila Green Little, et al.,                            §
                                                       §
      Plaintiffs,                                      §
                                                       §
              v.                                       § Civil Action No. 1:22-cv-00424-RP
                                                       §
Llano County, et al.,                                  §
                                                       §
      Defendants.                                      §
                                                       §

                             PLAINTIFFS’ RESPONSE TO
                    THE STATE OF TEXAS’S MOTION TO INTERVENE
        Plaintiffs Leila Green Little, Jeanne Puryear, Kathy Kennedy, Rebecca Jones, Richard

Day, Cynthia Waring, and Diane Moster (“Plaintiffs”) respectfully submit their response to the

State of Texas’s Motion to Intervene.

        Although the State has no right to intervene under Federal Rule of Civil Procedure

24(a)(2), Plaintiffs take no position regarding whether the Court should grant permissive

intervention. 1 The State of Texas’s attempt to intervene in this lawsuit is a curious use of public

resources, given that the Attorney General’s responsibilities include protecting the First

Amendment rights of the citizens of Texas and ensuring that county officials do not operate in
secrecy. 2 However, if the State is granted the right to intervene, it will “become[ ] a ‘party’ for

the purpose of protecting” the “right or interest” it claims justifies its intervention. Deus v.

1
  The State’s argument for intervention as of right hinges on the inadequacy of the county’s
representation. (Mot. at 3.) However, since the State filed its Motion, the County has hired
former Texas Solicitor General Jonathan F. Mitchell to represent it. (ECF No. 45.) Under these
circumstances, the Attorney General cannot establish inadequate representation, and a “[f]ailure
to satisfy any one requirement [of Federal Rule of Civil Procedure 24(a)(2)] precludes
intervention of right.” Edwards v. City of Houston, 78 F.3d 983, 999 (5th Cir.1996) (en banc).
2
 Indeed, the Attorney General’s website lists “enforcing open government laws” as among its
main directives. See About the Attorney General, KEN PAXTON ATTORNEY GENERAL OF TEXAS,
https://www.texasattorneygeneral.gov/about-office (last visited Jun. 22, 2022).

                                                   1
          Case 1:22-cv-00424-RP Document 47 Filed 06/22/22 Page 2 of 4




Allstate Ins. Co., 15 F.3d 506, 525 (5th Cir. 1994) (per curiam); see also Edwards v. City of

Houston, 78 F.3d at 999 (“A nonparty seeking to intervene … obtain[s] the rights and privileges

of a party to the lawsuit … .”). Plaintiffs welcome adjudication by this Court of the

constitutionality of the censorship activities being carried out in Llano County, which, as the

State explains, will be binding on commissioners’ courts statewide should intervention be

granted. (Mot. at 2.) (“This case … has the potential to affect the exercise of the State’s

sovereign authority by commissioners’ courts across the State.”).

       To be clear, Plaintiffs are troubled by the State’s efforts to gain party status to defend the
censorship activities carried out by Defendants in Llano County. The Attorney General is “the

chief law officer of the state,” and has “a duty to enforce and uphold the laws of Texas.” Tex.

Const. art. IV, § 22 & interp. cmt.; Texas Democratic Party v. Abbott, 978 F.3d 168, 181 (5th

Cir. 2020), cert. denied, 141 S. Ct. 1124 (2021). Here, however, the State is intervening to

prevent enforcement of its own laws, including the Texas Open Meetings Act, which Defendants

violated by closing Library Board meetings to the public. See Tex. Gov’t Code §§ 551 et seq.

But, to the extent the State’s intervention would permit clarification of bedrock First Amendment

principles as they operate in county libraries across the State, Plaintiffs have no objection to

permissive intervention.


Dated: June 22, 2022                           Respectfully submitted,

                                               /s/ Ellen Leonida
                                               Ellen V. Leonida (CA Bar No. 184194)
                                               Matthew Borden (CA Bar No. 214323
                                               J. Noah Hagey (CA Bar No. 262331)
                                               Sarah Salomon (CA Bar No. 308770)
                                               Pratik Ghosh (NY Bar No. 5754940)
                                               Amy Senia (CA Bar No. 329134)
                                               BraunHagey & Borden LLP
                                               351 California Street, 10th Floor
                                               San Francisco, CA 94104
                                               Tel & Fax: 415-599-0210
                                               leonida@braunhagey.com
                                               borden@braunhagey.com


                                                  2
Case 1:22-cv-00424-RP Document 47 Filed 06/22/22 Page 3 of 4




                           hagey@braunhagey.com
                           salomon@braunhagey.com
                           ghosh@braunhagey.com
                           senia@braunhagey.com

                           /s/ Ryan Botkin
                           Ryan A. Botkin (TX Bar No. 00793366)
                           Katherine P. Chiarello (TX Bar No. 24006994)
                           María Amelia Calaf (TX Bar No. 24081915)
                           Kayna Stavast Levy (TX Bar No. 24079388)
                           Wittliff | Cutter PLLC
                           1209 Nueces Street
                           Austin, Texas 78701
                           Tel: 512-960-4730
                           Fax: 512-960-4869
                           ryan@wittliffcutter.com
                           katherine@wittliffcutter.com
                           mac@wittliffcutter.com
                           kayna@wittliffcutter.com

                           Attorneys for Plaintiffs




                              3
          Case 1:22-cv-00424-RP Document 47 Filed 06/22/22 Page 4 of 4




                               CERTIFICATE OF SERVICE

       I hereby certify that on June 22, 2022, a true and correct copy of the foregoing document

was served on all counsel of record who have appeared in this case using the Court’s CM/ECF

system as a Filing User.


                                                   /s/ Ellen Leonida
                                                   Ellen V. Leonida




                                               4
